Case 2:19-cv-02372-TLP-tmp Document 12 Filed 08/26/19 Page 1 of 1                     PageID 23




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    MEMPHIS DIVISION

DAVID HASLETT,

     Plaintiff,                                      CASE NO.: 2:19-CV-02372-TLP-TMP

v.

SANTANDER CONSUMER USA, INC.,

     Defendant.
                                        /

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           COMES NOW the Plaintiff, DAVID HASLETT, and the Defendant, SANTANDER

CONSUMER USA, INC., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the Defendant

in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs

and expenses.

           Respectfully submitted this 26th day of August, 2019.

/s/ Frank H. Kerney, III                             /s/ Zachary D. Miller
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